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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


 CONER S. REED, individually, and on behalf
 of all others similarly situated,

        Plaintiff,
                                                       Case No.2:22-cv-2265
 v.

 TRUGREEN LIMITED PARTNERSHIP,

        Defendant.



                               CLASS ACTION COMPLAINT

       NOW COMES CONER S. REED (“Plaintiff”), individually, and on behalf of all others

similarly situated, by and through his undersigned counsel, complaining of TRUGREEN

LIMITED PARTNERSHIP (“Defendant”), as follows:

                                 NATURE OF THE ACTION

       1.      Plaintiff brings this action seeking redress for Defendant’s violations of the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.

       2.      “The primary purpose of the TCPA was to protect individuals from the harassment,

invasion of privacy, inconvenience, nuisance, and other harms associated with unsolicited,

automated calls.” Parchman v. SLM Corp., 896 F.3d 728, 738-39 (6th Cir. 2018) citing Telephone

Consumer Protection Act of 1991, Pub. L. No. 102-243, § 2, 105 Stat. 2394 (1991).

       3.      As the Supreme Court recently observed, “Americans passionately disagree about

many things. But they are largely united in their disdain for robocalls.” Barr v. Am. Ass’n of

Political Consultants, 140 S. Ct. 2335, 2343 (2020).



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                                  JURISDICTION AND VENUE

        4.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331.

        5.      Venue in this district is proper under 28 U.S.C. § 1391(b)(1) as Defendant

maintains its principal place of business in this judicial district and therefore resides in this judicial

district.

                                               PARTIES

        6.      Plaintiff is a natural person, over 18-years-of-age, who at all times relevant resided

in Canton, Mississippi and Birmingham, Alabama.

        7.      Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).

        8.      Defendant is a limited partnership that maintains its principal place of business in

Memphis, Tennessee.

        9.      Defendant is a national lawn care service provider that provides lawn care services

to consumers and businesses nationwide, including consumers and businesses in Tennessee.

        10.     Defendant is a “person” as defined by 47 U.S.C. § 153(39).

                                    FACTUAL ALLEGATIONS

        11.     At all times relevant, Plaintiff was the sole operator, possessor, and subscriber of

the cellular telephone number ending in 0432.

        12.     At all times relevant, Plaintiff’s number ending in 0432 was assigned to a cellular

telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

        13.     At all times relevant, Plaintiff was financially responsible for his cellular telephone

equipment and services.

        14.     In 2020, Plaintiff signed up for lawn care services from Defendant.



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       15.     In August 2020, Plaintiff called Defendant and spoke with Defendant’s

representative, Susan Wallace.

       16.     During this phone call, Plaintiff stated that he no longer needed Defendant’s

services and cancelled his account with Defendant.

       17.     In August 2021, Plaintiff started receiving collection calls from Defendant in an

attempt to collect an alleged balance on Plaintiff’s cancelled account.

       18.     In September 2021, Plaintiff answered one of Defendant’s collection calls.

       19.     During this call, Plaintiff (1) advised Defendant that there is no balance on his

account because he made all payments through the date he cancelled his account and (2) requested

that Defendant cease its erroneous collection calls.

       20.     In response, Defendant’s representative advised Plaintiff that it would (1) notate

that Plaintiff disputes the balance and (2) process his request that the calls cease.

       21.     Plaintiff’s request that Defendant cease its erroneous collection calls cease fell on

deaf ears and Defendant continued placing daily collection calls to Plaintiff’s cellular phone.

       22.     Specifically, Defendant placed 2 to 3 erroneous collection calls per weekday to

Plaintiff’s cellular phone.

       23.     When Defendant’s erroneous collection calls went unanswered, Defendant left

automated prerecorded voicemails (“robocalls”) on Plaintiff’s cellular phone stating:

         “Hello, this is TruGreen calling with an important message regarding your
         account. It’s important that you give us a call back at (833) 305-3003. Thank
         you for your business.”

       24.     All of Defendant’s robocalls were 13 seconds long and delivered the same message

described in Paragraph 23.

       25.     All of Defendant’s robocalls were placed from the phone number (386) 518-9310.

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       26.     To date, Defendant has placed no less than forty (40) robocalls to Plaintiff’s

cellular phone after Plaintiff requested that the calls cease.

       27.     Defendant’s incessant robocalls have invaded Plaintiff’s privacy and have caused

Plaintiff actual harm, including, aggravation that accompanies unwanted robocalls, increased risk

of personal injury resulting from the distraction caused by the robocalls, wear and tear to Plaintiff’s

cellular phone, loss of battery charge, loss of concentration, mental anguish, nuisance, the per-

kilowatt electricity costs required to recharge Plaintiff’s cellular telephone as a result of increased

usage of Plaintiff’s telephone services, and wasting Plaintiff’s time.

       28.     Moreover, each time Defendant placed a robocall to Plaintiff’s cellular phone,

Defendant occupied Plaintiff’s cellular phone such that Plaintiff was unable to receive other phone

calls or otherwise utilize his cellular phone while his phone was ringing.

       29.     Due to Defendant’s refusal to honor Plaintiff’s request that Defendant cease its

erroneous robocalls, Plaintiff was forced to retain counsel and file this action to compel Defendant

to cease its invasive practices.

                                     CLASS ALLEGATIONS

       30.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

       31.     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3)

individually, and on behalf of all others similarly situated (“Putative Class”) defined as follows:

               All persons throughout the United States (1) to whom Defendant placed,
               or caused to be placed, a call; (2) directed to a number assigned to a
               cellular telephone service; (3) using an artificial or prerecorded voice; (4)
               without his/her consent; (5) at a time in which he/she did not have an open
               account with Defendant; (6) within the four years preceding the date of
               this Complaint through the date of class certification.


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       32.        The following individuals are excluded from the Putative Class: (1) any Judge or

Magistrate Judge presiding over this action and members of their families; (2) Defendant,

Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which Defendant or

its parents have a controlling interest and their current or former employees, officers, and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Putative Class; (5) the legal representatives, successors, or assigns of any such excluded

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released.

A.     Numerosity

       33.        Upon information and belief, the members of the Putative Class are so numerous

that joinder of them is impracticable.

       34.        The exact number of the members of the Putative Class is unknown to Plaintiff at

this time and can only be determined through targeted discovery.

       35.        The members of the Putative Class are ascertainable because the Class is defined

by reference to objective criteria.

       36.        The members of the Putative Class are identifiable in that their names, addresses,

and telephone numbers can be identified in business records maintained by Defendant.

B.     Commonality and Predominance

       37.        There are many questions of law and fact common to the claims of Plaintiff and the

Putative Class.

       38.        Those questions predominate over any questions that may affect individual

members of the Putative Class.

C.     Typicality

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         39.    Plaintiff’s claims are typical of members of the Putative Class because Plaintiff and

members of the Putative Class are entitled to damages as a result of Defendant’s conduct.

D.       Superiority and Manageability

         40.    This case is also appropriate for class certification as class proceedings are superior

to all other available methods for the efficient and fair adjudication of this controversy.

         41.    The damages suffered by the individual members of the Putative Class will likely

be relatively small, especially given the burden and expense required for individual prosecution.

         42.    By contrast, a class action provides the benefits of single adjudication, economies

of scale, and comprehensive supervision by a single court.

         43.    Economies of effort, expense, and time will be fostered and uniformity of decisions

ensured.

E.       Adequate Representation

         44.    Plaintiff will adequately and fairly represent and protect the interests of the Putative

Class.

         45.    Plaintiff has no interests antagonistic to those of the Putative Class and Defendant

has no defenses unique to Plaintiff.

         46.    Plaintiff has retained competent and experienced counsel in consumer class action

litigation.

                                       CLAIMS FOR RELIEF

                                           COUNT I:
         Violations of the Telephone Consumer Protection Act (47 U.S.C. § 227 et. seq.)
                 (On behalf of Plaintiff and the Members of the Putative Class)

         47.    All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

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       48.     Defendant violated § 227 (b)(1)(A)(iii) of the TCPA by placing no less than forty

(40) non-emergency robocalls to Plaintiff’s cellular telephone utilizing an artificial or prerecorded

voice without Plaintiff’s consent.

       49.     As pled above, Defendant used an artificial or prerecorded voice that automatically

played upon reaching Plaintiff’s voicemail.

       50.     As pled above, Defendant did not have consent to place robocalls to Plaintiff’s

cellular phone as Plaintiff requested that Defendant cease its erroneous collection calls in

September 2021.

       51.     Upon information and belief, Defendant does not maintain adequate procedures to

effectively process cease-call requests or otherwise comply with the TCPA.

       52.     Upon information and belief, Defendant knew its collection practices were in

violation of the TCPA yet continued to employ them to maximize efficiency and profits at the

expense of Plaintiff and the Putative Class.

       53.     As pled above, Plaintiff was harmed by Defendant’s unlawful robocalls.

       WHEREFORE, Plaintiff, on behalf of himself and the members of the Putative Class,

requests the following relief:

       a.      an order granting certification of the proposed class, including the designation of

               Plaintiff as the named representative, and the appointment of the undersigned as

               Class Counsel;

       b.      a judgment in his favor finding that Defendant violated 47 U.S.C. § 227

               (b)(1)(A)(iii);

       c.      an order enjoining Defendant from placing further unlawful calls to Plaintiff and

               the members of the Putative Class;

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    d.     an award of $500.00 in damages to Plaintiff and the members of the Putative Class

           for each such violation;

    e.     an award of treble damages up to $1,500.00 to Plaintiff and the members of the

           Putative Class for each such violation; and

    f.     an award of such other relief as this Court deems just and proper.

                             DEMAND FOR JURY TRIAL

    Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.



    Dated: April 27, 2022                                 Respectfully submitted,

                                                          CONOR S. REED

                                                          By: /s/ Mohammed O. Badwan
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